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EXHIBIT A

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iii DlSTRlCTs
PLA\NT\FF(s) vs. DEFENDANT($) sERvicE /3

GREG M'IRMELLI the Cii;§/ ol’MirrmiBeach ' _ ' w ‘
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To Each Sl'ieriff of the State:

YCJU ARE CONilViANDED to serve this summons and copy of the complaint or petition in this action on
dafendant($); the Cii,y ofMiz\mi Bouch by serving ch. Dnn Gelber, 1700 Cunv¢znt'mri Ceni.<rr Drive,

lvliemi Beach, FL 33139

 

Ni RSOT$

 

i`:lach defendant is required to serve written defense to the complaint or petition on
plain{iff'a Attomey: Alexander$. Orlorliiky, Esq.

 

 

Who% address 13. 767 Arlhur Gocl£rey Road, Miami Beach, FL 33140

 

 

 

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or one of its omcials or employees sued in his or her udicial ca aci‘l is a de a dan the time to res ond shall be 40 da .

When suit is brou ht u suant to. 768.28 Floriida Stat tea the time to res o d shai be 30 da s." after service of this summons
on that defendant , exclusive of the clay of service, and to die ihs original of the defenses with the Clerk oi’ this Cleri< Court either before

service on Pialntiif‘s attorney or immediately theraaf'lzr. if a clofonciant fails to do so, a default will be entered against that defendant for
the relief demanded in the complaint or petition

 

 

 

 

 

 

 

  

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ADA N()TICE

“If you are a person with a disability who needs any accommodation in order to
participate in this proceeding you are entitlod, at no cost to you, to the provision of certain
assistance. Ploase contact the Eleventh J udicial Circuit Court’s ADA Coordinator, Lawson
E. Thomas Courthouse Center', 175 NW 1st Ave., Snite 2702, Miami, FL 33128, Telophone
(305) 349~7175; TI)D (305) 349*7174, 'Fax (305) 349-7355 at least 7 days before your
scheduled court appoarance, or immediately upon receiving this notification if the iimo
before the scheduled appearance is less titan '7 days; if you are hearing or voice impaired
call 711.” '

CLK/CT. 314 Rev. 02/16

 

 

 

Cierk’s web address www.miami-dacieclerk.com

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IN THE CIRCU[T COURT FOR THE
ELEVEN'IH JUDICIAL CIR.CUIT ]N AND
FOR l\/lIAMI~DADE COUNTY, FLOPJDA
GENERAL IURISDICTION DIVISON

cAsENo. fry --»~ `,;" (},p (( 12 ("<“a. (:.; /
crane mnMELLI,

Petitioner,

VS.

CITY OF l\/HAl\/ll BEACH, a Florida
Municipal Corporation,

Respondent.

COMPLAINT FOR DAMAGES AND DECLARATORY ACTION FO.R
ENFORCEMENT ()F FLORIDA PUBLIC RECQRDS LAW

Petitioner, GREG l\/[IRMELLI (hereinafter “M{Rl\/[ELLI”), by and through his
undersigned counsel hereby sues Respondent, the CITY OF MIAl\/II BEACH (hereinafter “the

City”), and as grounds therefore states:

INTRODU CTION

l. This is an action for an injunction and declaratory relief to enforce Plaintiff’s right to
inspect and copy public records pursuant to Article l, Section 24 of the Florida Constitution and
section 119.07, Florida Statutes‘ -

Z. This is also an action questioning a municipality’s power to take away basic and

fundamental rights of its citizens and/or residents, in pursuit of economic protectionisrn. ln the
instant case, it is the right of a single~family home owner to lease his horne for a period of less

than six (6) months and one (l) day.

3, Petitioner owns property in the City of Miami Beach.

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4. Through this action, Petitioner seeks to invalidate, as unconstitutional, certain regulatory

policies enforced by the City-~bcth codified and un-codified_that unreasonably restrict the rental
of single~t`arnily homes by their owners

5. Petitioner contends that these regulatory policies are ultra vires, unconstitutional, and

represent an impermissible and excessive exercise of power by the City’s Planning and Zoning
Director and the City itself
6. No rational basis exists to justify these policies

JURISDICTION AND VENUE
7 . Petitioner, GREG l\/IIRMELLI, is a resident and citizen of l\/Iiarni-Dade County, Florida.
8. Respondent, the CITY OF l\/IIAMI BEACH, is a Florida municipal corporation whose
boundaries are within Miami~l)ade County, Florida. The City is a “person” within the meaning of
42 U.S.C. §1983 and its acts, set forth below, were performed under color of state law.
9. This Court has jurisdiction over this action pursuant to Chapter 86, Florida Statutes (ZOlS),
Chapter 119, Florida Statutes (2018), to the extent that Plaintit"f seeks declaratory relief, as well as
by virtue of §26.012, Florida Statutes; Title XXXI[I, Ch. 542, §542.15, et seq., Flcrida Statutes
(2017); the Due Process and Equal Protection Clauses ot` the Fifth and Fourteenth Arnendrnents of
the United States Constitution', and 28 U.S.C. §133'1 and 42 U.S.C. §1983.
lO. Venue is proper in Miami~Dade County, Florida, pursuant to Florida Statute §47.0ll.
Moreoyer, venue is proper because the actions described in'this Complaint occurred in Miami-

Dade County, Florida, and the property at issue is located in Miarni-Dade County, Florida.

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BACKGROUND FACTS
ll. Petitioner, l\/.[[RMELLI, purchased his single-family horne in August 2007, moved in
January 2008 and would like to rent his home on a short term basis, Additionally, l\/IIRMELLI is
a licensed real estate salesperson
12. Before l\/Iarch 2016, the City’s fines for short term rentals ranged from $1500 to 310,000,
In l\/larch 2016, the City revised its Short-term rental ordinance providing fines from $20,000 to
$100,000.00.
13. This market is a real, established, and historically significant one within the hospitality
sector of South Florida’s tourist industry, particularly in the City of Miami Beach, where there has
been a long history of permitted short-term seasonal rentals of single-family homes
14. The ability to rent single-family homes provides Plaintiff, and others similarly situated,
with revenue that assists with the payment of debt service, maintenance expenses, insurance costs,
and property taxes
15. Under the ordinance, the special master who hears violations has no ability to reduce these
fines See, e.g., l\/liarni Beach City Code §§ l42-905(b)(5)(a) (the "special master shall not waive
or reduce tines").
l6. lt`a homeowneris found liable, the fine must be recorded in the public records and becomes -
a lien upon any Uerng owned by the homeowner. l\/liami Beach City Code 102-386(0)(3)(d);
l42-109(f)(l)(c); l42-9OS(b)(5)(b)(C); 142-l lll(e)(§)(A)(Z).
l7. Additionally, upon information and belief, in or around 2015, the City of Miami Beach

entered into a confidential settlement with another property owner and realtor allowing short term

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rentals in at least ten single family homes throughout l\/liami Beach to the detriment of other
property owners and realtors in Miarni Beach.

SPECIFIC ALLEGATIONS REGARD]NG STANDING

l8. As a resident, citizen and property owner in the City of l\/liami Beach, l\/lIRl\/IELLl

possesses the requisite legal standing to maintain this action to the extent that it alleges that the
acts of the City and its officials are unconstitutional, i/[lm vires, and unauthorized Moreover,

Petitioner has been directly impacted by the Administrative Interpretation and the Ordinance,

including the enforcement cf it by the City.

SPEC[FIC ALLEGATIONS REGAR])]NG ENTITLEIV[ENT TO
DECLARATORY RELIEF/RIPENESS

19. Section 86.021, Florida Statutes, provides, in pertinent part:

Any person...who may be in doubt about his rights...or whose rights, status, or
other equitable or legal relations are affected by a statute, or any regulation made
under statutory authority, or by municipal ordinance... may have determined any
question of construction or validity arising under such statute, regulation, municipal

ordinance....and obtain a declaration of rights, status or other equitable or legal
relations thereunder.

ZO. Because a bona fide dispute exists between the paities, this action is appropriate for

declaratory relief. Specifically, Petitioner maintains that the City has been illegally enforcing the
Administrative lnterpretation and has improperly enforced it against them.

Zl. The City, through its actions and/or inactions, has evidenced its position to the contrary
and continues to maintain that the Administrative Interpretation was enforceable prior to its
codification by ordinance Accordingly, the Petitioner is in doubt as to his rights, status, or legal

relations, with respect to the Administrative Inteipretation and the City’s enforcement of it, and

are also in doubt as to the legal sufficiency of the Administrative lnterpretation.

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22. Similarly, a bona fide dispute exists between the parties with respect to the Ordinance, also
making this action appropriate for declaratory relief Specifically, Petitioner contends that the
Ordinance is invalid and fails to comply with the requirements of law, both facially and as applied
to Petitioner, as more particularly recited hereln.

23. The City’s enactment and enforcement of the Ordinance violates Petitioner’s procedural
and substantive due process rights as guaranteed by the Fifth and Fouiteenth Amendinents of the
United States Constitution, as well as Article I, §2 and Article 1, §9 of the Florida Constitution.
24. l\/[oreover, the City’s attempt to regulate Petitioner’s activities is in direct contravention of
Florida’s comprehensive statutory framework regarding regulation of in-state trade and commerce
and, more specifically, concerning the state’s lodging and food service establishments See, e.g.
Title XX:XIII, Ch. 509, §§509.013 and 509.242 Florida Statutes, setting forth exclusions to
definitions of “public lodging establishments;” §721.257 Florida Statutes7 regarding time-share
interests in real property and AGO 93 -55 (determining that §721.25 “precludes a city from
enforcing a local ordinance or regulation based upon the fact that the ownership of the property is

on a time-share basis. . .”). *

SPECIFIC ALLEGATIONS REGARDING EXHAUSTION OF
ADMINISTRATIVE REMEDIES AND FUTILITY

25. Because Petitioner is challenging the constitutionality of certain actions undertaken by the

City, including the Ordinance itself, he is not required to, prior to initiating this action, exhaust

any administrative remedy to which he might be entitled.
26. More specifically, with respect to Petitioner’s claims involving the City’s enforcement of
the Administrative Interpretation prior to codification, the facts alleged herein, and the exhibits

attached hereto, conclusively demonstrate that the City of l\/liami Beach has improperly consented

to the enforcement of the Administrative Interpretation.

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27. Under these facts and circumstances, any provision in the City’ s Code pertaining to appeals

of “administrative decisions” to the City Commission would not provide an adequate remedy to
Petitioner, or would be futile Any such appeal would lead only to a hearing before the same

Cornrnission that has allowed the Administrative lnterpretation to be enforced with full knowledge

cfPetitioner’s concerns

28. Finally, any provision in the City’s Code governing appeals of “administrative decisions”

do not apply to the constitutional and legal challenges brought in this complaint to challenge the

propriety of the City’s administrative actions

29. In short, Petitioner does not possess an “adequate” remedy for the redress of his grievance
with the City.
30.

Petitioner has retained the undersigned counsel to represent his interests in this action, and
is obligated to compensate them for services performed on his behalf . His right to recovery of such

costs and fees is provided pursuant to, among other provisions, §542.23 Florida Statutes and 42

U.s.c. §1988_

31. All conditions precedent to the maintenance of this action have been satisfied or have been

waived by the action or inaction of the City.

SPECIFIC ALLEGATIONS REGARD]NG PUBLIC REC()RDS REQUEST
32. Plaintiff has requested public records in the custody of the Defendant pertaining to the
City’s litigation over similar short term rental properties, specifically requesting all settlement
documents, transcripts of depositions, responses to discovery served on behalf of the city, any

written comini,inication between the city and its attorneys and all communications between the city

or its attorneys and plaintiffs for property located at lO Palm Avenue, l\/liarni Beach, Florida.

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33. The request was made on January 23, 2018 and the City assigned the request #14682 on
lanuary 24, 2018. See attached Exhibit “A”.

34. Although the City finally produced several CD’s of documents, it has routinely delayed its
responses, produced documents that are wholly irrelevant to the request, including7 for example,
City water bills, and has failed to produce vast amounts of non-exempt public records that were
included in the request

35. lt was not until April 27, 2018, over three months after the request was processed, that the

City provided Plaintiff with any documents

36. As of the date of this filing, the request remains outstanding and over 2000 pages of non-

exempt documents have been withheld from Plaintiff.

37 . Defendants improper withholding of these documents is in violation of Article I, Section

24 of the Florida Constitution and sections 119.07 and 119.10, Florida Statutes, for withholding
public records despite Plaintiff’ s pending Chapter 119 requests

38. In addition to violating Chapter 119 of Florida Statutes, Defendants are obstructing
Plaintiff from obtaining information that is critical to Plaintiff’ s case against the City regarding its
ban on short term rentals Several documents that have already been received reveal that the City
is selectively enforcing its policy and that it has conspired with non-parties to allow the short term
rental of certain properties, including but not limited to 10 Palm Avenue, l\/liami Beach, Florida.
Among these documents are memorandum instructing code enforcement officers to quash or

dismiss any code violations for these inexplicably exempt properties

39. Defendant’s ongoing failure to comply with the requirements of Chapter 119, Florida

Statutes clearly violates the public records law. Moreover, it improperly denies Plaintiff

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information to which he is entitled in order to demonstrate that the City has improperly and
selectively enforced its ban on short term rentals

40. Under the Public Records Act, unjustifiable delay in making records available to the point

of forcing a requester to file an enforcement action is by itself tantamount to an unlawful refusal to
provide public records in violation of the Act. Promenade D’lberville1 LLC v, Sundv, App. l Dist,,
145 sess 930 (2014).

41. As such, Plaintiff seeks immediate enforcement of all outstanding public records requests

submitted to Defendant, directly or through his undersigned counsel, and pursuant to Fla. Stat.

Sec.119.ll.

COUNT I '
(VIOLATION OF 42 U.S.C. §1983 SELECTIVE ENFORCEl\/[ENT VIOLA'I`ION OF
THE PLAINT[FF’S EQUAL PROTEC'I`ION RIGHTS)

42. Petitioner alleges and avers by reference his allegations in paragraphs 1 through 41 above

as if fully set forth herein

43. At all times material, the acts committed by the City of Miami Beach were done under

color of state law.

44. As described above, the Plaintiff has been treated differently from other similarly situated

City of l\/liami Beach residents This differential treatment from the City of l\/iiami Beach results

from the City of l\/liami Beach unequally applying facially neutral ordinances for the purpose of

discriminating against the Plaint`iff and other similarly situated homeowners

45. At all times material the City of l\/liami Beach’s actions were in accordance with the City

of Mi ami Beach’ s customs/policies l\/loreover, the City ofMiami Beach instituted a custom/policy
of allowing a pattern of selective enforcement of its code of ordinances the arbitrary and selective

issuance of citations to the Plaintiff and other similarly situated homeowners This includes the

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arbitrary and selective imposition of code enforcement fines on Plaintiff, the arbitrary and selective
delaying and/or denying of ministerial approvals, and the constant, arbitrary, and selective
monitoring of the construction on the Plaintiff’ s property, in violation of the Plaintiff s Fourteenth
Annendment Equal Protection rights

46. l\/[oreover, the City of l\/liarni Beach has a duty of providing a safe and secure setting for
its residents, so that its residents can exercise their rights without selective enforcement by its
officers and employees That duty included training, supervising controlling and disciplining its
Code Enforcement officers and employees

47. The City of l\/Iiami Beach is deliberately indifferent to, and violated the rights of the
Plaintiff under the Fourteenth Arnendment by failing to train, supervise, control and discipline its
Code Enforcernent officers or agents under its control, in the execution of their official duties,
particularly that such officers and employees treat the Plaintiff as all other businesses The City
of Miarni Beach’s failure to adequately train, supervise and control its officers and employees
under its command and directicn, is part of a pattern, practice and custom or omission that is
tantamount to a policy of the City of Miami Beach.

48. As a direct and proximate result of the City of Miarni Beach’s wrongful acts, the Plaintiff
has suffered damages, including loss of potential business opportunities and loss of value of his
property

49. Plajntiff, GREG Mlle\/lELLI estimates that if he were allowed to legally rent his property
he would have made at least $7,650,000.00 since 2010 at a 50% occupancy rate

50. Pursuant to 42 U.S.C. §1988(b), the City’of l\/liarni Beach is liable for the Plaintiff’s

reasonable attorneys’ fees and costs.

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WHEREFORE, Plaintiff, GREG MIRl\/JELLI demands judgment in his favor and against

the City of lvliarni Beach for compensatory and damages, attorneys’ fees, costs7 and such other and

further relief this Court deems just and proper

COUNT II
(Declai‘atory and Injunctive Relief_Ordinance Violates State Antitrust Laws)

51. Petitioner alleges and avers by reference his allegations in paragraphs 1 through 41 above

as if fully set forth herein

52. Petitioner maintains this cause of action for declaratory and injunctive relief pursuant to

Title XXXUI, Ch. 542, §§542.18-542. 19 and §§ 542,23-542-235(2), Florida Statutes, for violation
of Florida’s antitrust laws

53. The purpose and practical effect of the Ordinance and its enforcement by the City is to

unreasonably restrict and relegate interstate visitors and other single-family clientele seeking short

term rental accommodations to the local Miami Beach hoteliers and condominiums

54, There is no discernable relationship between the Ordinance and its enforcement7 or to the

health, safety, or welfare of the citizens of the City of Miami Beach. Instead it is designed to prefer

and protect the City’s hoteliers and condominiums from competition

55. There is no lawful basis for the restriction of the freedom of the property owners in l\/liami

Beach and the City’s interstate visitors, including single families Moreover, the actual or potential
anticompetitive effects of the Ordinance and its enforcement by the City outweigh any benefits the
public may receive thereby.

56. A judicial determination of the legality of the Ordinance as a restraint upon trade, both

facially and as applied to Petitioner, is appropriate at this time so that Petitioner and the City may

ascertain their respective rights and duties

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57. There is a bona fide, actual, present and practical need for this Court’s declaratory
judgment

58. Petitioner’s rights are dependent upon this Court’s determination of the controversy
between the parties, who have actual, present, adverse, hostile and antagonistic interest in the

subject matter of this action

59. All conditions precedent to the maintenance of this action have been satisfied or have been
waived by the action or inaction of the City.

60. Petitioner has no adequate remedy other than this action to avoid the improper application

of the Ordinance to him and his property.
61. Petitioner is entitled to an award of his costs and reasonable attorney’s fees incurred in
successfully bringing this action pursuant to §542.23, Florida Statutes.

WHEREFORE, Petitioner l\/[[RMELLI demands judgement in his favor: (1) declaring that
the Ordinance violates §§542.18-542.19, Florida Statutes as an illegal restraint upon trade and
commerce; (2) enjoining enforcement of the Ordinance as against him and his lawful use of his
property as further described herein', and (3) for all such further relief that this Court deems
equitable and just, including but not limited to a post-judgement injunction enforcing the

judgement and an award of attorney’s fees and costs

COUNT I]I
(Oi'dinance Violates Dorniant Comnierce Clause)

62. Petitioner alleges and avers by reference his allegations in paragraphs 1 through 41 above

as if fully set forth herein

63. Petitioner maintains this claim under 42 U.S.C. §1983v seeking redress for violations of

Article l, §8, clause 3 of the United States Constitution.

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64. The City has established a custom, policy7 pattern and practice of enacting and enforcing

the Ordinance under the color of law, and, as a direct result of this action, has deprived Petitiorier
of rights, privileges7 and immunities secured by the United States Constitution and, specifically,

the dormant Commerce Clause. The City’s liability for those deprivations is direct and not

vicarious

65. The purpose and practical effect of the Ordinance is to unreasonable restrict and relegate

interstate visitors seeking short term rental accommodations to the local l\/liami Beach hoteliers

and condominiums

66. 'l`he Commerce Clause of the United States Constitution prohibits states and local

governments from engaging in economic protectionism. Because the avowed purpose and practical
effect of the Ordinance is to interfere with and unduly burden interstate commerce to the benefit
of local interests and to the detriment of out-of~state interests, the ordinance is subject to elevated
scrutiny. “The mere ‘incantation’ of a purpose to promote public health, safety and welfare will
not insulate an ordinance.” Kassel v.l Consolidated Freightwavs Corp., 450 U.S. 662, 676 (1991).
67 . Further, any such legitimate local purpose can be adequately served by reasonable
nondiscriminatory alternatives such as the City’s existing Code restrictions regulating single
events (the City’s “House Party Ordinance”), traffic, garbage, parking and noise y

68. Moreover, the putative benefits of the Ordinance to any legitimate local purpose is clearly
outweighed by the burden it creates on interstate commerce Regardless of the discriminatory
nature of its impact, the Ordinance effectively removes a local market for short term residential
rentals in l\/liami Beach from the national market

WHEREFORE, Petitioner demands judgement in his favor striking the Ordinance as void

for violation cf the Coinmerce Clause of the United States Constitution, and requests such further

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relief that this Court deems equitable and just, including but not limited to a post-judgement
injunction enforcing the judgment and an award of attorney’s fees and costs, pursuant to 42 U.S,C.

§i9ss.

COU`N'I` IV
(42 U.S.C. §1983--Federnl Takings)

69. Petitioner alleges and avers by reference his allegations in paragraphs 1 through 41 above
as if fully set forth herein

70. Petitioner maintains this cause of action pursuant to 42 U.S.C. §1983 and seeks monetary
damages and attorney’s fees, pursuant to 42 U.S.C. §1988, for the deprivation of his property

and/or liberty interests, as more particularly set forth herein.

71. The City has established a custom, policy, pattern and practice of selective enforcement of

the Short Term Rental Ordinance and enacting and enforcing the Ordinance under the color of law,
and, as a direct result of these actions, has deprived Petitioner of his legitimate business interests
(i.e. his liberty to conduct a lawful business free from unreasonable government interference), as

well as Petitioner’s use of his property in violation of the Fifth and Fourteenth Amendments to the

United States Constitution.

72. The direct and immediate impact of the selective enforcement on Petitioner’s use of his

private, single-family property in the City, which would be eligible for lease, has resulted in a
taking by the City as enunciated by the Supreme Court of the United States in Penn Central Trans. ,

ca v. New Yori< city, 437 U.s. 104 (1978).

73. Prior to the passing of the revised Ordinance, which effectively prohibited short-term

rentals of single-family homes in the City, neither Petiticner, nor the other owners of single-family

homes were prohibited from effectuating a rental of property of less than six (6) months in the

city.

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74. The draconian restrictions set forth in the Ordinance and its enforcement are unreasonable,

serve to deprive property owners of the use of their private property and improperly target
businesses and/or individuals who rent single-family homes to clients who seek alternatives to a
hotel This governmental action is an arbitrary and capricious exercise of the City’s powers and
has no substantial or rational relation to the public health, safety or welfare

Wl.-IEREFORE, Petitioner demands judgement in his favor and against the City entitling
him to damages pursuant to 42 U.S.C. §1983, and requests all such further relief that this Court
deems equitable and just, including but not limited to costs, attorney’ s fees, pursuant to 42 U.S.C.

§1988, and a post-judgment injunction enforcing the judgment

COUNT V
(Substantive Due Process and Takings Claim Under the Florida Constitution)

75. Petitioner alleges and avers by reference his allegations in paragraphs 1 through 41 above

as if fully set forth herein

76. Article I, §2 and Article I, §9 of the Florida Constitution prohibit a municipality, such as

l\/liami Beach, from depriving a person or a corporation of liberty or property without due process
of law. ln addition, Article X, §6 of the Florida Constitution provides that no private property shall

be taken for a public purpose without full compensation being paid to the owner thereof

77. The City’s actions by raising the penalties have Substantially deprived Petitioner of his

reasonable investment-backed expectations for the use of his property so as to constitute a taking
of his property without compensation

78. By prohibiting the lawful use and rental of single-family homes by administrative

ordinances and subsequent enactment revision and enforcement of the Ordinance, the City has
substantially and unreasonably interfered with Petitioner’s constitutionally protected interest to

conduct a lawful business free from arbitrary governmental action that is solely designed to injure

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Petitioner and benefit the hotel industry Moreover, the City has improperly targeted for regulation
a certain type of property user, i.e. a putative renter of a single-family home, and has failed to draft
an ordinance that regulates the use of the property (as opposed to its user).
7 9. Additionally, upon information and belief the City of Miami Beach has entered into one or
more confidential settlements with other single family owners allowing certain individuals to rent
out single family homes on a short-term basis in violation ofFlorida’s open access
WHEREFORE, Petitioner demands judgment in his favor, declaring that:
1) the City’s actions violate the above-mentioned constitutional provisions and entitle them
to money damages within the jurisdiction of this Court, and/or
2) Petitioner has established a nonconforming lawful use of the subject property entitled to
grandfather status under Article X], §118-3 93 of the City’s Code, thereby exempting him
from application of the revised Ordinance, and
3) enter all such further relief that this Court deems equitable and just, including but not
limited to costs, attorney’s fees, and a post-judgment injunction
COUNT VI - PREEMPTION

80. Petitioner alleges and avers by reference his allegations in paragraphs 1 through 41 above

as if fully set forth herein

81. The City derives its powers from the State ofFlorida, and it accordingly may not exercise
those powers iri ways that conflict with7 or are preempted by, state law.

82. l\/liami Beach City Code§§ 142-905 and 1111 conflict with and are preempted by Florida
Statutes § 162.09(2)(d). Florida Statutes § 162.09(2)(d) expressly limits the fines that the Miami

Beach Zoning Board of Adjustment can impose to $1,000 per day for the first violation and $5,000

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per day for repeat violations However, the penalties the City currently enforces against property
owners who allow short~term rentals vastly exceed these limits

83. The City's $20,000 penalty for first-time violators is twenty times higher than the penalty

allowed by Florida Statutes§ 162.09(2)(d),

84. Lil<ewise, the City’s escalating penalties of $40,000, 560,000, $80,000, and $100,000 for

repeat home-sharing violations are astronomically higher than the $5,000 penalty for repeat

violators that is authorized by state statute

85. Miami Beach City Code §§ 142-905 and 1111 also violate Florida Statutes § l62.09(2)(d)'s

requirement that “[a]ny ordinance imposing such fines shall include criteria to be considered by
the code enforcement board or special magistrate in determining the amount of the tines."

86. Miami Beach City Code §§ 142-905 and 1111 fail to provide criteria which the special
master may consider when assessing penalties in specific cases. lnstead, they specifically provide
that the special master may not reduce the fines in any instance As a result, these ordinances
violate areeda statutes § 162.09(2)(¢1).

87. Plaintiff believes that Miami Beach City Code §§ 142-905 and 1111 violate, conflict with,

and are preempted by Florida state law. Plaintiff seeks declaratory relief to determine the extent
of his rights in Miami-Dade County, Florida.

88. Plaintiff has incurred costs related to this lawsuit and seeks an award of reasonable costs

pursuant to Florida Statutes § 86.081, as it is equitable to do so.

89. Plaintiff has an inadequate remedy at law for the substantial harm being caused by Miami

Beach City Code§§ 142-905 and 1111.

90, Mi ami Beach City Code §§ 142~905 and 1111 have caused, are causing, and will continue

to cause irreparable harm to the Plaintiff and to the Miami Beach public

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91. The public interest would be served by enjoining enforcement of Miami Beach City Code

§§ 142-905 and 1111 and entering a declaratory judgment that the penalties imposed by those
ordinances, as well as their failure to provide any criteria to be applied when assessing penalties,
conflict with and are preempted by Florida state law.

WHEREFORE, Plaintiff respectfully requests relief as follows:

a. a declaratory judgment that Miarni Beach City Code §§ 142~905(b)(5) and 1111
are preempted by Florida Statues§ l62.09(2)(d);

b. ' permanent injunction against the City of Miami Beach prohibiting the City from
enforcing Miami Beach City Code§§ 142-905(b)(5)(a) and llll(e) and/or setting
penalties for short~ term rentals that exceed those permitted by state law;

c. an award of costs; and,

d. any further relief as this Court deems just and proper

COUN'I` VII
Violation of Florida Statute Section 119.07(1)(A)

92. Petitioner alleges and avers by reference his allegations in paragraphs 1 through 41 above

as if fully set forth herein

93. Section 119.07(1)(a), Florida Statutes provides that “every person who has custody of a

. public record shall permit the record to be inspected.and copied by any person desiring to do so.”
94. The documents requested by Plaintiff pertaining tc 10 Palm Avenue, l\/liami Beach Florida
and Defendant’s enforcement of its ban on short term rentals are public records subject to the

disclosure requirements of article 1, section 24 of the Florida Constitution, as well as section

119.07, Fla. Stat.

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95. No provision is made in Public Records Act for anyone other than custodian of records to

withhold a rccord, and the only justification for withholding record, or portion thereof, is

custodian's assertion of exemption under this section Tribune Co. v. Cannella 458 So.2d 1075

 

(1984), appeal dismissed 105 S.Ct. 2315, 471 U.S. 1096, 85 L.Ed.2d 835

96. The documents requested by Plaintiff pertaining to 10 Palm Avenue, l_\/liami Beach Florida

and Defendant’s enforcement of its ban on short term rentals are not exempt from the disclosure

requirements of article 17 section 24 of the Florida Constitution, and section 119.0'7, Fla. Stat.

97. Defendant‘s failure to produce these requested, responsive documents to Plaintiff s

Chapter 119 request constitutes a nondiscretionary refusal to produce public records that violates

Section 119.07, Fla. Stat. and article l, section 24 of the Florida Constitution.

98. Section 119.11, Fla. Stat. provides that “whenever an action is filed to enforce the

provisions of this chapter, the court shall set an immediate hearing giving the case priority over
other pending matters,” Unjustifiable delay in making records available to the point of forcing a
requester to file an enforcement action is by itself tantamount to an unlawful refusal to provide

public records in violation of the Act. See Promenade D'Iberville, LLC v. Sundy, App. l Dist.,
145 So.?)d 980 (2014).

99. Plaintiff has retained the undersigned counsel to bring this suit and has incurred costs and

attorney’s fees in bringing this action and is entitled to recovery of costs and reasonable attorney’s

fees pursuant to Section 119.12, Fla. Stat.

WI~[EREFORE, Plaintiff demands entry of orders:

A. Setting an immediate hearing pursuant to section 119.11(1), Flav Stat. in order to address

the City’s ongoing refusals to comply with Chapter 119 and article l, section 24 of the

Florida Constitution;

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B. Directing Defendant to appear at said hearing pursuant to section 119.11(1), and to show
cause as to why the records requested by Plaintiff should not be ordered to be produced;

C. Directing Defendant to produce the requested records at said hearing pursuant to section

119,11(1), Fla. Stat.;
D. Directing Defendant to produce all of the requested records to Plaintiff;
E. Awarding the Plaintiff costs and reasonable attorneys’ fees that he incurred in bringing this

action initially, and in seeking the Court’s intervention to obtain the records requested; and,

F. Awarding any other relief that is deemed proper and just.

DEMAND FOR JURY TRIAL

Petitioner, GREG MIRMELLI, hereby requests a trial by jury on all issues so triable

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Dated this 24111 day of July, 2018.

Respectfully submitted,

THE ORLOFSKY LAW FIRM, P.L.
Counsel for Plaintiff, Rosie Burlce

7 67 Arthur Godfrey Road

l\/[iami Beach, Florida 33140
Telephone; 305=~538-2344
Facsimile: 305-907»~5248

Bv: /s Alexander S. Orlofsltv
ALEXANDER S. ORLOFSKY, ESQ.
alext’.fi)oilct`slrviaw.lirm,corn
Florida Bar No. 676705

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EXHIBIT A

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lenuary 23, 2018

\!XA HANB EELIVERY
MIAMI BEACH CITY CLERK
Cl'l"Y A'YTORNE`{

1700 CONVENTION CE~NTER DRIVE
MIAMI BEACH, FL 33139

aa: Pusirc stresses neguss"r

Dear Slr or Madam:

Please consider this a Public Raccrcls Request pursuant to Florlcla Statutes
§119.07. l am hereby requesting copies cr access tc original documents in
the case listed heiew ct all settlement documents any transcripts ct
dfil€>caltlcns that were raken, responses to discovery served en behalf of the
City of Mlarnl Beach, any written communication between the City cf Miaml

Beach and its attorneys and all communications between the City or its
attorneys and Plel.ntltts, 10 Palm, LLC and Vlltazzc, LLC:

l. Case No. 09*71297 CA 08, Clrcuit Court of the Eleventh Judlcla| Circ.uit
ln and for Miamt»Dane Ccunty; entitled 10 Psim, LLC, er, al v. the City
of Miami Beach;

. Case l\lo. 09»23306-<;‘1\/‘~$!§1'1"2, US Distrlct Court for the Southern
Dlstrlct of Flcrlcla, Mlaml Dlvlslcn, entitled 10 Pa/m, LLC, er. al v.. the

` City of Miam)` Beacn; _
. Case Nc`, 0?~30245 CA 30, Clrcult Court ct the Elev`enth ludlciel Clrcult
ln and for Mlarni~£>ade Ccunty; 10 Fa/m, LLC, et. al v, the City efM!ami
Beach ; and,
Cese Ne. 09~23306*CIV~SEITZ, US Dlstrlct Court for the Southern

Dlstrtct ct Florlda, Mlaml Dlvlslon, entitled 10 Pa/m, LLC, et. al v. the
City cf Miami Beach;

  

In order to save time and costs, please provide all documentations

electronically when possible Shculd you have any questions please do net
hesitate l:c contact me.

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Januar'y 23, 2018

VIA HANE* DELIVERY

MIAM§ BEACH CI'~I'Y CLER.K

1700 CONVENTIGN CENTER DRIVE
MIAMI BEACH, FL 33139

RE: PUBLIC RECORD£‘» REQUE§I

Daai" Sit or Matiam:

Ple:ase consider this a Public Reoords Request pursuant to Floricia Statute
§119.07. Poi"suant to the state’§ open records oct, f am roquosting all
available documentation of violations of Fia. Stat. Sec:t, 1,42»90563){5) for the
property located at 10 Pairn Ayonuo, Miaml Beaoh, Ft. 33139, as well as
documentation for any other code violations for this property.

Aciditionally, 1 am roqu@stlng all records rotating to the toilets/lng Code
Entorooment Violot`ions:

C'E 11091239
CE 1100123'5
CE 14911800

In order to save time and oosto, _pie_a$e -`provicie' ali documentationo

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hesitate to contact me,

V§ry trui y yours,

       

 

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